Case: 3:09-cv-00625-bbc Document #: 428 Filed: 02/25/11 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

AARON ESPENSCHEID,

GARY IDLER, and MICHAEL CLAY,

on behalf of themselves and a

class of employees and/or :

former employees similarly situated, : Case No. 09-cv-625
Plaintiffs, :

Vv.

DIRECTSAT USA, LLC and
UNITEK USA, LLC
Defendants.

 

 

DEFENDANTS’ MOTION TO AMEND THIS COURT’S FEBRUARY 10, 2011
ORDER TO INCLUDE A CERTIFICATION FOR INTERLOCUTORY
APPEAL PURSUANT TO 28 U.S.C. § 1292(b)

 

Defendants DirectSat USA, LLC and UniTek USA, LLC (together, “Defendants”),
hereby move this Court to amend its February 10, 2011 Order and Opinion (Dkt. No. 387)
regarding Defendants’ motion to decertify this case as a collective action under the Fair Labor
Standards Act (“FLSA”), 29 U.S.C. § 201, et_seq. Defendants respectfully request that this
Court certify the order for interlocutory review pursuant to 28 U.S.C. § 1292(b). In particular,
Defendants request that the Court certify the following three questions of law:

1. What is the appropriate legal standard for determining whether employees are

“similarly situated” sufficient to justify adjudicating their claims in a collective
action under 29 U.S.C. § 216(b)?

2. To what extent may employees be deemed “similarly situated” in wage-and-hour

litigation because an employer’s employment policies allegedly caused individual

employees or their managers to engage in purportedly unlawful behavior, even
though the behavior at issue varied widely among employees and managers?
Case: 3:09-cv-00625-bbc Document #: 428 Filed: 02/25/11 Page 2 of 2

3. Do the Due Process Clause of the Fifth Amendment and the Reexamination
Clause of the Seventh Amendment permit certification of FLSA subclasses whose
members cannot be determined without individualized discovery from opt-in
plaintiffs and who have widely differing claims based on their individual
employment experiences, and that would likely require bifurcation of overlapping
damages and liability issues?

As explained at length in Defendants’ supporting brief, the requirements of § 1292(b) are
satisfied as to each of these critical legal questions. Thus, for the reasons set forth in
Defendants’ supporting brief, which is incorporated herein by reference, this Court should grant
Defendants’ Motion and amend its order to include a certification for interlocutory appeal under

§ 1292(b).

Respectfully submitted,

/s/Colin D. Dougherty

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DATED: February 25, 2011 Counsel for Defendants
